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                            U.S. BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re ELEASE C. GINDRAW                    :       CHAPTER 13
                                           :
       Debtor(s)                           :       BANKRUPTCY NO. 19-15948


                    OBJECTION TO CERTIFICATION OF DEFAULT


       Debtor(s), Elease C. Grindraw, by their attorney, Paul H. Young, Esquire, hereby objects

to the Certification of Default filed by Wilmington Savings Fund Society, FSB, as Trustee of

Stanwich Mortgage Loan Trust F (the “Lender”), on September 16, 2022. Debtor believes she can

become current on all post-petition payments due under the October 2, 2020 stipulation with the

Lender.

                                           Respectfully submitted,


                                           /s/ Paul H. Young
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Dated: September 20, 2022
